                                    UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF TENNESSEE


                                    JUDGMENT IN A CRIMINAL CASE
                                     (For Offenses Committed On or After November 1, 1987)

UNITED STATES OF AMERICA                                                     CASE #: 3:10-00163-22
                                                                             USM #:  19773-075
    V.
BRANDON PRINCE                                                               John P. Cauley
                                                                             DEFENDANT’S ATTORNEY

THE DEFENDANT:

[x] pleaded guilty to count 26 of the Second Superseding Indictment.
[] pleaded nolo contendere to count(s) which was accepted by the court.
[] was found guilty on count(s) after a plea of not guilty.

Accordingly, the Court has adjudicated that the defendant is guilty of the following offenses:

                                                                             Date Offense         Count
Title & Section                  Nature of Offense                           Concluded            Number(s)
18 U.S.C. § 4                    Misprision of a Felony                      3/30/2010            26




The defendant is sentenced as provided in this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of
1984.

[] The defendant has been found not guilty on count(s) , and is discharged as to such counts.
[] Count Indictment are dismissed as to this defendant on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States District Court and the United States Attorney
for this district within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the Court
and the United States Attorney of material changes in economic circumstances.

                                                                             June 15, 2012
                                                                             Date of Imposition of Judgment

                                                                             _______________________________
                                                                             Signature of Judge

                                                                             Aleta A. Trauger, U.S. District Judge
                                                                             Name & Title of Judge

                                                                             Date Signed: June 18, 2012




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                                                                 PROBATION
The defendant is hereby sentenced to probation for a term of 3 years.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
drug test within 15 days of placement on probation and at least two periodic drug tests thereafter, as directed by
the Court.
[]      The above drug testing condition is suspended based on the court’s determination that the defendant poses
        a low risk of future substance abuse. (Check, if applicable.)
[x]     The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if
        applicable.)
[x]     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if
        applicable.)
[]      The defendant shall register with the state sex offender registration agency in the state where the
        defendant resides, works or is a student, as directed by the probation officer. (Check, if applicable.)
[]      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

        If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with
the Schedule of Payments set forth in this judgment.

        The defendant shall comply with the standard conditions that have been adopted by this court (as set forth below).
The defendant shall also comply with any additional, special conditions on the attached page.

                                  STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
reason;
6) the defendant shall notify the probation officer at least 10 days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view by the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or
personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with
such notification requirement;




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                                          PROBATION

                                  SPECIAL CONDITIONS
1.     The defendant shall not be involved with gang activity, possess any gang paraphernalia or
       associate with any person affiliated with a gang.

2.     The defendant, if not gainfully employed, shall be required to participate in an adult education
       program and prove consistent effort, as determined appropriate by the United States Probation
       Office, toward obtaining a General Equivalency Diploma (GED).

4.     The defendant is prohibited from owning, carrying, or possessing firearms, destructive devices,
       or other dangerous weapons.

5.     The defendant shall cooperate in the collection of DNA as directed by the United States
       Probation Office.




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                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties in accordance with the Schedule of Payments
set forth in this judgment.

                                              Assessment                        Fine                      Restitution
    Totals:                                   $100                              $                         $

[] The determination of restitution is deferred until. An Amended Judgment in a Criminal Case (AO 245C) will be
entered after such determination.
[] The defendant must make restitution (including community restitution) to the following payees in the amount
listed below.

If the defendant makes a partial payment, each payee shall receive an approximate proportioned payment, unless
specified otherwise in the priority order or percentage column below. However, pursuant to 18 U.S.C. § 3664(I),
all non-federal victims must be paid in full before the United States is paid.



Name of Payee                                 Total Loss*                       Restitution Ordered       Priority or
%




    Totals:                                   $                                 $

[] Restitution amount ordered pursuant to plea agreement                        $

[] The defendant must pay interest on any fine or restitution of more than $ 2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options on the Schedule of Payments may be subject to penalties for default and delinquency, pursuant
to 18 U.S.C. § 3612(g).

[] The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

    [] The interest requirement is waived.
    [] The interest requirement is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.



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                                       SCHEDULE OF PAYMENTS
    Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as
follows:

A [x] Lump sum payment of $100 (special assessment) due immediately, balance due
                [] not later than _____________________, or
                [] in accordance with C, D, E, or F; or

B [] Payment to begin immediately (may be combined with C, D, or F); or

C [] Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $______________over
a period of __________(e.g. months or years), to commence ____________(e.g., 30 or 60 days) after the date
of this judgment; or

D [] Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $______________over
  a                period of __________(e.g. months or years), to commence ____________(e.g., 30 or 60
  days) after release from imprisonment to a term of supervision; or

E [] Payment during the term of supervised release will commence within ____________(e.g, 30 or 60 days)
  after release from imprisonment. The court will set the payment plan based on an assessment of the
  defendant’s ability to pay at that time; or

F   [] Special instructions regarding the payment of criminal monetary penalties:




    Unless the court has expressly ordered otherwise, if this judgment imposes a period of imprisonment,
    payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal
    monetary penalties, except those made through the Federal Bureau of Prisons’ Inmate Financial
    Responsibility Program are to be made payable to the Clerk, U.S. District Court, located at 800 U.S.
    Courthouse, 801 Broadway, Nashville, TN 37203.

    The defendant shall receive credit for all payments previously made toward any criminal monetary
    penalties imposed.

[] Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint
and                  Several Amount, and corresponding payee, if appropriate.

[] The defendant shall pay the cost of prosecution.

[] The defendant shall pay the following court cost(s):

[] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest;
(4) fine principal; (5) fine interest; (6) community restitution; (7) penalties, and (8) costs, including cost of
prosecution and court costs.



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